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 ·   · · · ·· IN THE UNITED STATES DISTRICT COURT
 ·   · · · ·· FOR THE EASTERN DISTRICT OF OKLAHOMA
 ·   ·
 ·   ·
 ·   · ROBBIE EMERY BURKE,
 ·   · · · · ·· Plaintiff,
 ·   ·
 ·   · vs.· · · · · · · · · · · ··Case 18-CV-108-RAW
 ·   ·
 ·   · MUSKOGEE COUNTY COUNCIL
 ·   · OF YOUTH SERVICES
 ·   · ("MCCOYS"), et al,
 ·   · · · · ·· Defendants.
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
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 ·   ·
 ·   · · · · · · · ·· VIDEO DEPOSITION OF
 ·   · · · · · · · · · · ANGELA MILLER
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 ·   · DATE:··FEBRUARY 28, 2019
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 ·   · REPORTER:··MARISA SPALDING, CSR, RPR
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·1· ·sure that Anthony -- and we're going to use
·2· ·Anthony Cornwell in this example.··That Anthony
·3· ·Cornwell actually did a cell check at 7:30 a.m.,
·4· ·were you?
·5· · · · · · · · ·MR. SMITH:··Object to the form.
·6· · · · · · · · ·THE WITNESS:··Honestly, no, because
·7· ·I wasn't working that shift --
·8· · · ·Q· ··(By Mr. Smolen)··I -- I know --
·9· · · ·A· ··-- but --
10· · · ·Q· ··-- but let's talk about the shift you
11· ·were --
12· · · ·A· ··Uh-huh.
13· · · ·Q· ··-- on, okay?··Was it part of your job
14· ·responsibility to actually make sure that those
15· ·cell checks were done at 15-minute intervals?
16· · · · · · · · ·MR. SMITH:··Same.
17· · · · · · · · ·THE WITNESS:··Me sitting in the
18· ·control room, no.
19· · · ·Q· ··(By Mr. Smolen)··Okay.
20· · · ·A· ··But the person that was on the floor,
21· ·yes.
22· · · ·Q· ··You understood they were supposed --
23· · · ·A· ··Yes.
24· · · ·Q· ··-- to do it, correct?
25· · · ·A· ··That's only if -- my understanding if
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·1· ·kind of piqued because Jerrod told you to send
·2· ·Brandon out; you've got access to the camera
·3· ·system, right?
·4· · · ·A· ··Correct.
·5· · · ·Q· ··Are you watching what's happening on the
·6· ·camera system?
·7· · · ·A· ··Yes.
·8· · · ·Q· ··Okay.··What do you see?
·9· · · ·A· ··I see Jerrod on one wing placing the
10· ·juveniles in their room and Brandon and Jackie on
11· ·another wing placing the juveniles in their room.
12· · · ·Q· ··At that point, do you know why the
13· ·children are being placed on lockdown?
14· · · ·A· ··No.
15· · · ·Q· ··Did you have some kind of understanding
16· ·that there was a medical emergency?
17· · · ·A· ··No.
18· · · ·Q· ··Had anyone asked you to call 911?
19· · · ·A· ··No.
20· · · ·Q· ··Okay.··Had anyone asked you to call any
21· ·supervisors above the shift supervisor level?
22· · · ·A· ··No.
23· · · ·Q· ··Okay.··So you're watching Jerrod,
24· ·Brandon, and Jackie place the children on
25· ·lockdown, correct?
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·1· · · ·A· ··Yes.
·2· · · ·Q· ··And did you monitor through the control
·3· ·room what Jerrod did?
·4· · · ·A· ··No.
·5· · · ·Q· ··Okay.··I mean, could you see him or were
·6· ·you watching for that at all?
·7· · · ·A· ··No, I couldn't see him.
·8· · · ·Q· ··What were you doing while they were --
·9· ·after you had sent Jerrod back down to at least
10· ·try CPR, what were you doing?
11· · · ·A· ··I think I was standing there and Jackie
12· ·was on the phone with Joe.
13· · · ·Q· ··Okay.··And then what do you recall next?
14· · · ·A· ··Joe came -- Joe told us to go ahead and
15· ·dial 911 -- or call 911 -- and everybody was just
16· ·in complete shock.
17· · · ·Q· ··Okay.··When you say in this summary,
18· ·okay, Angela asked both supervisors, Lang and
19· ·Winkle, what was the protocol for the situation
20· ·and neither one knew?
21· · · ·A· ··Yeah.
22· · · ·Q· ··Okay.··What do you recall about that?
23· · · ·A· ··Normally, a facility will have a protocol
24· ·in case something -- in cases like this if
25· ·something happen.
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·1· · · ·Q· ··And I'm assuming you were unaware of what
·2· ·that protocol was; is that correct?
·3· · · ·A· ··Correct.
·4· · · ·Q· ··And so you asked your supervisors or who
·5· ·were individuals identified what was the
·6· ·protocol?
·7· · · ·A· ··Correct.
·8· · · ·Q· ··And based on your observations, they told
·9· ·you they didn't know?
10· · · ·A· ··Correct.
11· · · ·Q· ··Okay.··Did it appear that they had any
12· ·idea what to do or were they totally confused?
13· · · ·A· ··Totally confused.
14· · · · · · · · ·MR. SMITH:··Object to the form.
15· · · ·Q· ··(By Mr. Smolen)··Did anyone say, Hey, let
16· ·-- there's a -- there's a handbook around here
17· ·somewhere or there's a policy and procedure
18· ·manual around here; let's look at that?
19· · · ·A· ··No.
20· · · ·Q· ··It says:··Jackie asked Angela if Director
21· ·Joe Washington should be called.··Angela told
22· ·Winkle to call Washington; do you see that?
23· · · ·A· ··Yes.
24· · · ·Q· ··So here we have someone who's -- you've
25· ·identified as a supervisor actually asking you do
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·1· ·we call Joe Washington, correct?
·2· · · ·A· ··Correct.
·3· · · ·Q· ··Okay.··And you go ahead and tell her,
·4· ·yes, let's call him?
·5· · · ·A· ··Correct.
·6· · · ·Q· ··At that point in time, to your knowledge,
·7· ·had anybody called 911?
·8· · · ·A· ··No.
·9· · · ·Q· ··Did you know what the policy or the
10· ·practice was at the facility for when 911 was to
11· ·be called?
12· · · ·A· ··No.
13· · · ·Q· ··Did you know one way or the other whether
14· ·or not you had to call a supervisor -- an
15· ·administrative supervisor -- before calling 911?
16· · · ·A· ··Yes.
17· · · ·Q· ··You believe that that was something that
18· ·you needed to do?
19· · · ·A· ··Yes, because they always told us don't
20· ·dial 911 because of the district or, you know, or
21· ·something.
22· · · ·Q· ··Okay.··When you say they always told us
23· ·not to dial 911 because of the district or for
24· ·some other reason, who is that person who was
25· ·telling you that?
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·1· · · ·A· ··Joe -- Joe would tell us not to dial 911.
·2· · · ·Q· ··Okay.··And tell me a little bit more
·3· ·about those conversations.··I know it's been some
·4· ·time ago.··Do you remember hearing -- think back
·5· ·a minute, okay, Angela, because --
·6· · · ·A· ··Okay.
·7· · · ·Q· ··-- this is my one chance to talk to you.
·8· · · ·A· ··Okay.
·9· · · ·Q· ··In those circumstances where Joe
10· ·Washington told you to not call 911, he was
11· ·telling you that for informational purposes as
12· ·far as a going forward basis, not at an actual
13· ·time of an event; is that correct?··Does that
14· ·make sense?
15· · · · · · · · ·MS. RILEY:··Object to the form.
16· · · · · · · · ·THE WITNESS:··Correct.
17· · · ·Q· ··(By Mr. Smolen)··Okay.··You don't recall
18· ·a situation when you were there at the facility
19· ·and you guys wanted to call 911 and Joe said,
20· ·Don't call 911?
21· · · ·A· ··No.
22· · · ·Q· ··Okay.··He was just telling you, Hey, in
23· ·the future, if somebody comes up, don't call 911?
24· · · ·A· ··Correct.
25· · · ·Q· ··Okay.
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·1· · · · · · · · ·MR. SMITH:··Object to the form.
·2· · · ·Q· ··(By Mr. Smolen)··And did he explain to
·3· ·you why -- in any more detail why he did not want
·4· ·you guys calling 911?
·5· · · ·A· ··It was --
·6· · · · · · · · ·MR. SMITH:··Same.
·7· · · · · · · · ·THE WITNESS:··As far I can remember,
·8· ·it was something with the district.
·9· · · ·Q· ··(By Mr. Smolen)··Okay.
10· · · ·A· ··The -- the district of the county --
11· ·Muskogee County or something.
12· · · ·Q· ··Okay.··That he didn't want the county to
13· ·know 911 had been called?
14· · · ·A· ··I'm -- I'm not for sure, but it was just
15· ·something with Mus -- Muskogee County.
16· · · ·Q· ··Okay.··And that the 911 calls went
17· ·through Muskogee County?
18· · · ·A· ··Yes.
19· · · ·Q· ··Okay.··And for that reason, he didn't
20· ·want you guys calling 911?
21· · · ·A· ··Exactly.
22· · · ·Q· ··Okay.··Did that concern you at all?
23· · · ·A· ··No, I didn't -- honestly, I didn't think
24· ·nothing like this would happen but...
25· · · ·Q· ··Okay.··In hindsight and in looking at the
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·1· ·situation now, does it concern you that's what
·2· ·directive you and other detention staff have been
·3· ·given by Mr. Washington?
·4· · · · · · · · ·MR. GIBBS:··Object to the form.
·5· · · · · · · · ·MR. SMITH:··Object to the form.
·6· · · · · · · · ·MS. RILEY:··Same.
·7· · · · · · · · ·MS. FOUTCH:··Same objection.
·8· · · · · · · · ·THE WITNESS:··Yes.
·9· · · ·Q· ··(By Mr. Smolen)··Do you believe that that
10· ·maybe, at least in part, is why there was at
11· ·least a 20-minute delay in calling 911 for Billy
12· ·Woods that night?
13· · · · · · · · ·MR. SMITH:··Same.
14· · · · · · · · ·MS. RILEY:··Same.
15· · · · · · · · ·THE WITNESS:··Yes.
16· · · ·Q· ··(By Mr. Smolen)··I mean, if you had been
17· ·told and trained from the beginning if there's a
18· ·medical emergency, you guys call 911 immediately,
19· ·would you have done that?
20· · · ·A· ··Correct, yes.
21· · · · · · · · ·MR. GIBBS:··Object to the form.
22· · · · · · · · ·MS. RILEY:··Same.
23· · · ·Q· ··(By Mr. Smolen)··And is the reason you
24· ·did not do that was because Mr. Washington had
25· ·told you early in your employment not to call 911
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·1· · · ·Q· ··You recall Lang coming into the control
·2· ·rooms -- or telling you to switch out with
·3· ·Brandon Miller when you were down there doing the
·4· ·phone calls?
·5· · · ·A· ··No, actually, he didn't come into the
·6· ·control room.
·7· · · ·Q· ··I miss -- I misspoke.··Let me strike
·8· ·that.··You had testified earlier that you were
·9· ·down in the residential area doing phone call
10· ·visitation, and that's when you were told to go
11· ·to the control room and get Brandon and have him
12· ·come down, correct?
13· · · ·A· ··I was in the hallway.··He was on the
14· ·floor -- the main floor.··As I opened the door,
15· ·he told me to go tell him to come and hit the
16· ·floor.
17· · · ·Q· ··Get Brandon?
18· · · ·A· ··Yeah.
19· · · ·Q· ··We talked about that earlier --
20· · · ·A· ··Uh-huh, excuse me.
21· · · ·Q· ··-- and you gave me a pretty clear picture
22· ·of what happened?
23· · · ·A· ··Yes.
24· · · ·Q· ··Miller locked down the residents on the
25· ·east wing.··Miller said he asked Lang three times
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·1· ·why he had called for a lockdown before Lang
·2· ·said, That guy back there hung himself; do you
·3· ·see that?
·4· · · ·A· ··Yes.
·5· · · ·Q· ··Okay.··I believe you testified that you
·6· ·had also asked Lang, at least on one attempt, as
·7· ·to why he was needing Brandon to come down there
·8· ·and Mr. Lang did not respond to you?
·9· · · ·A· ··He said -- he said, Angie, go up there
10· ·and get Brandon.··I said, What's going on?··He
11· ·said, Go get Brandon.
12· · · ·Q· ··Okay.··So he even, in your interactions
13· ·with him, did not acknowledge or tell you about
14· ·what had --
15· · · ·A· ··No.
16· · · ·Q· ··-- happened?··It goes on to state that
17· ·Miller said the other staff, including Detention
18· ·Worker Jackie Winkle and Detention Worker Angela
19· ·Miller, were back -- or I'm sorry -- were crying
20· ·and everybody was freaking out; do you see that?
21· · · ·A· ··Yes.
22· · · ·Q· ··Was that happening?
23· · · ·A· ··Yes.
24· · · ·Q· ··Okay.··B. Miller said A. Miller told him
25· ·and Lang that someone needed to do CPR.··That's
